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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 H.S. DOE, by Next Friend, L.S. DOE;
 C.R. DOE, by Next Friend, N.R. DOE; and
 Z.B. DOE by Next Friend L.B. Doe,
                                           Case No. 5:16-cv-13710
                                           Hon. Judith E. Levy
                  Plaintiffs,              Magistrate Elizabeth Stafford
 v.

 SHIRLEY THOEN, an Individual, and
 PORT HURON AREA SCHOOL DISTRICT,

                  Defendants.
                                                                               /
 SEIKALY STEWART & BENNETT P.C.             WHITE SCHNEIDER PC
 William R. Seikaly (P33165)                Jeffrey S. Donahue (P48588)
 Tiffany R. Ellis (P81456)                  Attorneys for Defendant Thoen
 Attorneys for Plaintiffs                   1223 Turner St., Suite 200
 30445 Northwestern Hwy, Ste 250            Lansing, MI 48906
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 PLUNKETT COONEY
 Michael D. Weaver (P43985)
 Attorneys for Defendant
 Port Huron Area School District
 38505 Woodward Ave., Ste 100
 Bloomfield Hills, MI 48304
 (248) 901-4025
 mweaver@plunkettcooney.com
 _________________________________________________________________/

         EX PARTE MOTION FOR LEAVE TO FILE EXHIBITS UNDER SEAL
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       NOW COMES Defendant Port Huron Area School District (“PHASD”), by and

through its attorneys, Plunkett Cooney, and for its Ex Parte Motion to File Exhibits Under

Seal, states as follows:

       1.      This Motion is brought pursuant to L.R. 5.3(b), which permits a party to file a

motion seeking leave to file an item under seal.

       2.      This case involves Minor Plaintiffs and their Next Friends, all of whom are

captioned confidentially pursuant to this Court’s April 3, 2017 Order Granting Plaintiffs’

Motions to File Affidavits and to File Under Seal and for Protective Order (ECF # 25).

       3.      Several of the exhibits to be attached to PHASD’s Motion for Summary

Judgment, filed concomitantly with this Motion, contain confidential identifying information,

as well as confidential medical information, relating to all three Minor Plaintiffs in this matter,

H.S. Doe, C.R. Doe, and Z.B. Doe. See Exhibits R, W, Z, AA, CC, DD, EE, GG, HH, II, JJ,

KK, MM, and NN.

       4.      Fed. R. Civ. P. 5.2 requires the filing to protect the identity of a minor.

       5.      The unredacted names of the Minor Plaintiffs appear extensively throughout

the relevant exhibits attached to PHASD’s Motion to Dismiss and/or for Summary

Judgment, such that redaction would be difficult and impractical.                Additionally, the

classroom video excerpts filed as Exhibit O contain footage of the Minor Plaintiffs

themselves and other minor students who are not parties to this litigation and did not

consent to being filmed.



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       6.     In order to ensure that PHASD complies with Fed. R. Civ. P. 5.2, PHASD

requests that this Honorable Court permit it to file, under seal, relevant exhibits to their

Motion to Dismiss and/or for Summary Judgment.

       7.     Additionally, PHASD seeks leave to file Exhibits A, B, D, T, and V under seal

because they were produced pursuant to a protective order intended to protect their

confidential nature, and designated as “Confidential.” See ECF # 43, Stipulated Protective

Order, ¶ 12 (stating that no document designated as “Confidential” shall be filed with the

Court, except under seal).

       8.     Exhibits N and P relate to the sealed portion of Defendant Thoen’s deposition

regarding her mental health treatment, and must likewise be kept confidential.

       9.     Pursuant to L.R. 5.3(b)(2)(B), a proposed Order is attached as Exhibit A.

       WHEREFORE, Defendant PHASD respectfully requests that this Honorable Court

enter an order permitting it to file certain Exhibits to its Motion to Dismiss and/or for

Summary Judgment under seal.

                                          Respectfully submitted,

                                          PLUNKETT COONEY

                                   By:    /s/Michael D. Weaver
                                          Michael D. Weaver P43985
                                          Attorney for Defendant PHASD
                                          38505 Woodward Avenue
                                          Suite 100
                                          Bloomfield Hills, MI 48304
                                          (248) 901-4025
                                          mweaver@plunkettcooney.com
Dated: August 3, 2018

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                                  CERTIFICATE OF SERVICE

I hereby certify that on August 3, 2018, I electronically filed an Ex Parte Motion for Leave to

File Exhibits Under Seal with the Clerk of the Court using the ECF system which will send

notification of such filing to all attorneys of record.

                                               By:        /s/ Michael D. Weaver________
                                                          Michael D. Weaver P43985
                                                          PLUNKETT COONEY
                                                          Attorney for Defendant PHASD


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               Exhibit A
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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 H.S. DOE, by Next Friend, L.S. DOE;
 C.R. DOE, by Next Friend, N.R. DOE; and
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 ________________________________________________________________/

      PROPOSED ORDER GRANTING LEAVE TO FILE EXHIBITS UNDER SEAL
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          Pursuant to the Ex Parte Motion for Leave to File Exhibits Under Seal filed by

  Defendant Port Huron Area School District, and for good cause shown,

          IT IS HEREBY ORDERED that Defendant’s Motion is GRANTED and the relevant

  Exhibits to Defendant Port Huron Area School District’s Motion to Dismiss and/or for

  Summary Judgment shall be filed under seal.




  Dated: ___________________                     /s/_____________________
                                                 Hon. Judith E. Levy
                                                 Magistrate Elizabeth Stafford
                                                 U.S. District Court




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